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e en ant. .`U'S,_ DISTMCT JUDGE fn §
MoTloN To DETERM¥NE CoMPETENCY oF DEBmDA s §-
PURSUANT ro 13 U.s.C.§ 4241 "’

 

COMES NOW the Defendant, Joel Edward Scott, by and through court appointed

counsel of record, Eugene A. Laurenzi, Esq., and respectfully moves this Court for a hearing to

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1)

determine the competency of the Defendant and in support Would show the following'.

Counsel believes that there is reasonable cause to believe that the Defendant has
been suffering and may be

presently suffering from a mental disease or defect rendering him

mental incompetent to stand trial to the extent that he is unable to understand the nature and

consequence of the proceeding against him and to assist properly in his defense
2) Your Movant Would further show that Mr. Scott Was being treated at Tennessee
State Westem State Mental Institute in Boliver, Tennessee.

WHEREFORE PREMISES CONSIDERED, your Movant prays‘.
l) That the Court order a psychiatric or psychological exami

nation be conducted
pursuant to 18 U.S.C. § 4241(b).
2)

When the examination has been completed that the Coui“t set a hearing to

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determine the Defendant’s mental competency to stand trial.

Respectfully submitted,

GODWIN, MORRIS, LAUR_ENZI & BLOOMFIELD, P.C.
50 N. Front, Suite 800
Morgan Keegan Tower
Memphis, Tennessee 3 8103
(901) 528-1702. g /

 

By: / ` . `
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CERTIFICATE OF SERVICE

l hereby certifym tha/t a true and correct copy of the foregoing has been mailed, U. S.
Mail, postage prepaid, this p_/ Z day of ¢ZM/Lk ,2005.

Dan Newsom

Assistant United States Attorney
167 N. Main Street, Suite 800
Mernphis, TN 38103

/L/ ./
Eugene A. Laurei}z¢i/

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Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 2:05-CR-20089 Was distributed by faX, mail, or direct printing on
June 28, 2005 to the parties listed.

 

 

Eugene A. Laurenzi

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Honorable J on McCalla
US DISTRICT COURT

